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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                      NORTHERN DIVISION AT COVINGTON

   NICHOLAS SANDMANN, by and through      :   CASE NO. 2:20-cv-23-WOB-CJS
   his parents and natural guardians, TED :
   SANDMANN and                           :
   JULIE SANDMANN,                        :
                                          :
          Plaintiff,                      :
                                          :
   v.                                     :
                                          :
   THE NEW YORK TIMES COMPANY             :
   d/b/a THE NEW YORK TIMES,              :
                                          :
          Defendant.                      :
                                          :
                                          :
   NICHOLAS SANDMANN, by and through :        CASE NO. 2:20-cv-24-WOB-CJS
   his parents and natural guardians, TED :
   SANDMANN and                           :
   JULIE SANDMANN,                        :
                                          :
          Plaintiff,                      :
                                          :
   v.                                     :
                                          :
   CBS NEWS, INC., et al.,                :
                                          :
          Defendants.                     :
                                          :
   NICHOLAS SANDMANN, by and through :        CASE NO. 2:20-cv-25-WOB-CJS
   his parents and natural guardians, TED :
   SANDMANN and                           :
   JULIE SANDMANN,                        :
                                          :
          Plaintiff,                      :
                                          :
   v.                                     :
                                          :
   ABC NEWS, INC., et al.,                :
                                          :
          Defendants.                     :
                                          :
                                          :
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   NICHOLAS SANDMANN,                     :    CASE NO. 2:20-cv-26-WOB-CJS
                                          :
          Plaintiff,                      :
                                          :
   v.                                     :
                                          :
   GANNETT CO., INC., et al.,             :
                                          :
          Defendants.                     :
                                          :
                                          :
   NICHOLAS SANDMANN, by and through :         CASE NO. 2:20-cv-27-WOB-CJS
   his parents and natural guardians, TED :
   SANDMANN and                           :
   JULIE SANDMANN,                        :
                                          :
          Plaintiff,                      :
                                          :
   v.                                     :
                                          :
   ROLLING STONE, LLC, et al.,            :
                                          :
          Defendants.                     :



      NICHOLAS SANDMANN’S OMNIBUS MEMORANDUM IN OPPOSITION TO
           THE DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


                         [ORAL ARGUMENT REQUESTED]

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  I.     INTRODUCTION

         The Defendants, collectively and individually, raise three issues in their Joint

  Memorandum and in their individual Supplemental Memoranda: (1) that Phillips’ “blocked” and

  “prevented my escape” statements constitute opinion; (2) that the statements are not susceptible to

  a defamatory meaning; and (3) that the statements are in fact true or substantially true. This Court

  has previously resolved the first two of these issues.1 Although this Court is not irremediably

  bound by its prior rulings on these matters,2 the prudential law of the case doctrine strongly

  militates against this Court’s re-deliberation on issues already briefed, argued, and resolved by

  multiple prior rulings. These prior rulings have been heavily relied upon by the litigants, who have

  conducted substantial discovery on a single issue left unresolved by these prior rulings. The law

  of the case doctrine promotes efficiency, consistency, and finality. These concerns are paramount

  in a litigation as large, costly, and significant as the one at bar. The Defendants’ repetitive

  persistence in urging these perspectives should be disregarded.

         The first issue the Defendants re-raise is the question of opinion vs. fact. In its prior rulings

  and orders, this Court has already resolved this issue by necessary implication. Initially, in its first

  order in this litigation, the Court had ruled that the blocked/retreat statements constitute “opinion”

  that is immune from defamation liability.3 In its reconsideration of its initial order, and after a

  second round of extensive briefing and argument on this issue, the Court reversed itself, and


  1
     E.g., Sandmann v. WP Company, LLC, Case No. 2:19-cv-19 (Doc. 64); Sandmann v.
  NBCUniversal, LLC, Case No. 2:19-cv-56 (Doc. 43; Page ID# 755); Sandmann v. The New York
  Times Co., Case No. 2:20-cv-23 (Doc. 28; Page ID# 217); Sandmann v. CBS News, Inc., et al.,
  Case No. 2:20-cv-24 (Doc. 34; Page ID# 273); Sandmann v. ABC News, Inc., et al.¸ Case No. 2:20-
  cv-25 (Doc. 36; Page ID# 315); Sandmann v. Rolling Stone, LLC, Case No. 2:20-cv-27 (Doc. 35;
  Page ID# 276).
  2
    Fed. R. Civ. P. 54(b).
  3
    Sandmann v. WP Company, LLC, Case No. 2:19-cv-19 (Doc. 47).

                                                     1
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  ordered the parties to conduct discovery on the truth or substantial truth of the blocked/retreat

  statements.4 This reversal and discovery order by necessary implication means that the Court

  reversed its “opinion” decision and ruled that the blocked/retreat statements constitute factual

  statements. Otherwise, the Court’s directive to the parties to conduct discovery to determine the

  truth or falsity of those statements would be incomprehensible.5 It would make no sense for the

  Court to order discovery on this factual issue if the statements constituted opinion in the first place.

  A statement of fact, and only a statement of fact, is capable of being proven true or false.

          The Defendants assert, under one theory, that their publications disclosed all of the

  “underlying facts,” and that such disclosure renders Phillips’ statements not actionable.6 This

  argument is inapposite: the defense that the speaker “disclosed all the facts underlying the opinion”

  only applies where the statement in question is a statement of opinion, not a statement of fact. As

  this Court made clear in its previous Orders in this matter, such consideration of the context of a

  publication is irrelevant when the statement at issue is factual:

                  Sandmann alleges that defendants published a factual, defamatory
                  statement by Phillips, period. No amount of context removes that
                  meaning.

  E.g., Sandmann v. ABC News, Inc., et al., E.D. Ky. Case No. 2:20-cv-25 (Doc. 36; Page ID# 317).

  In bringing up the many judicial decisions, including those from this Court, that examine the

  context and “underlying disclosure” of statements of opinion, the Defendants are barking up the

  wrong tree. Factual statements stand on their own. The Court has already ruled on this matter, and


  4
    Id. (Doc. 64).
  5
    Sandmann v. The New York Times Co., Case No. 2:20-cv-23 (Doc. 38); Sandmann v. CBS News,
  Inc., et al., Case No. 2:20-cv-24 (Doc. 44); Sandmann v. ABC News, Inc., Case No. 2:20-cv-25
  (Doc. 49); Sandmann v. Gannett Co., Inc., Case No. 2:20-cv-26 (Doc. 50); Sandmann v. Rolling
  Stone, LLC, Case No. 2:20-cv-27 (Doc. 45).
  6
    (D. Joint Memo. at 34-36).

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that ruling should be respected. The only question properly presented at the close of Phase One

discovery is the issue of the truth or falsity of the defamatory statements of fact.

        The Defendants also make much of the fact that this Court, initially, ruled that the

statements constituted opinion. That decision was reconsidered by this Court soon after it was

made, after full briefing and argument, and in a timely and efficient manner. Now the Defendants,

after a year’s reliance by the parties on the Court’s ruling, ask this Court to consider the issue for

the third time. It would be inappropriate for a federal court to engage in such indecisiveness. For

a federal court to fail to adhere to its own prior decisions would cause concern to and create wasted

expenses for the litigants and lawyers who rely on prior legal determinations to bring order to their

cases. This Court should not accept the Defendants’ invitation to litigate this issue for the third

time.

        However, if the Court does once again re-open this issue, it will find that its prior

determination was sound. “Block” refers to a physical, observable act. It is as factual as the English

language has words to describe such conduct. The Defendants’ arguments on this point, as

previously, stretch the category of “opinion” past all sense, and well beyond the what the

reasonable lay reader would conclude.

        The second issue raised in Defendants’ Motion is that Phillips’ statements are not

susceptible to a defamatory meaning. This argument is not offered in the Defendants’ Joint

Memorandum; instead, each Defendant raises this contention in its respective Supplemental

Memoranda. Once again, this argument transgresses the limits of this Court’s instructions for

summary judgment, as the Defendants again attempt to re-litigate a matter already resolved by this

Court in ruling on the motion to dismiss. This Court has explicitly held, in Orders delivered to



                                                  3
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each Defendant, that the blocked/retreat statements are defamatory.7 In fact, the Court has gone a

step farther, ruling these statements to constitute “libel per se.”8 As before, the Court’s decision

on this point followed extensive briefing, argument, re-argument, and deliberation. The Court’s

Order comprises the law of the case and must be respected by the parties.

       Although this Court need not and should not re-open this issue, on the merits it is clear that

the Court’s prior ruling is sound. Phillips, a Native American activist in traditional clothing and

beating a ceremonial drum, accused Nicholas, a white teenager from a Catholic school wearing a

pro-Trump “MAGA” hat, of deliberately blocking his path and preventing his retreat. That

incendiary accusation had its intended effect. The image of Nicholas’ awkward and embarrassed

smile while Phillips confronted him and stood in his face became, when “explained” by Phillips’

fabrications, a visual representation of racism, hatred, intolerance, insensitivity, and belligerence.

The profound reputational consequences suffered by Nicholas in the immediate aftermath of the

encounter, which adversity continues to this day, render the defamatory character of Phillips’

statements beyond reasonable dispute. Clearly, as this Court determined, Phillips’ statements


7
  Sandmann v. NBCUniversal, LLC, Cov. Case No. 2:19-cv-56 (Doc. 43; Page ID# 755), adopted
by reference and reaffirmed in Sandmann v. The New York Times Co., Case No. 2:20-cv-23 (Doc.
28; Page ID# 217) (“[T]he Court has ruled in companion cases that the [blocked/retreat] statement
is libelous. The Court continues to hold that opinion for the reason stated in such preceding
cases.”); Sandmann v. CBS News, Inc., et al., Case No. 2:20-cv-24 (Doc. 34; Page ID# 273) (“[T]he
Court has ruled in companion cases that similar publications are libelous. The Court continues to
hold that opinion for the reasons stated in such preceding cases.”); Sandmann v. ABC News, Inc.,
et al.¸ Case No. 2:20-cv-25 (Doc. 36; Page ID# 315) (“[T]he Court has ruled in companion cases
that the [blocked/retreat] statement is libelous. The Court continues to hold that opinion for the
reasons stated in such preceding cases.”); Sandmann v. Rolling Stone, LLC, et al., Case No. 2:20-
cv-27 (Doc. 35; Page ID# 276) (“[T]he Court has ruled in companion cases that the
[blocked/retreat] statement is libelous. The Court continues to hold that opinion for the reason
stated in such preceding cases.”).
8
  E.g., Sandmann v. The New York Times Co., Case No. 2:20-cv-23 (Doc. 28; Page ID# 218) (“The
allegations of the Complaint fit this definition [of defamation per se] precisely.”).


                                                  4
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subjected Nicholas to ridicule, shame, and obloquy. Statements are to be judged in their context,

in the “four corners” of the publication, and without question the statements created a defamatory

depiction of this encounter. Again, this matter has been fully argued previously and was put to

rest. Once again, however, Nicholas will answer these same contentions, lest his silence be

misconstrued. On this point, however, the Court need not tarry.

       The third issue raised by the Defendants is the only one properly before this Court. It is the

issue, and the only issue, on which this Court sent the parties off on a year’s worth of discovery to

determine. That issue is whether or not the blocked/retreat statements are true or false.

       The Defendants’ arguments on this point are unpersuasive. To be fair, their task is

immensely difficult: they have to argue that what the video evidence shows to be true is really not

true, that tiny shifts of weight or the actions of people other than Nicholas and Phillips should be

interpreted to not just question, but entirely negate what appears obvious from the video. The

problem for the Defendants is that the usual lawyer spins and angles will not work here. There is

no need to piece together oral testimony and fading memories of various eyewitnesses to determine

the conduct of the parties. We have the video. See, e.g., Hanson v. Madison Cty. Det. Crt., 736

Fed. App’x. 521, 527 (6th Cir. 2018) (“Where, as here, there is a videotape capturing the events in

question, the court must view those facts in the light depicted by the videotape.”).

       At bottom, there can be no debate about the physical movements of the parties on that day

on the Mall. Nicholas stood in his place, which he had occupied for at least several minutes.

Phillips walked right up to the students, first confronting others, and then Nicholas, all while

numerous other pathways up the stairs were available to Phillips across the expanse of the

monument. Phillips walked right into Nicholas’ personal space, right in front of him, and beat his

drum loudly mere inches from Nicholas’ face. He moved so close that his drum even brushed

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against Nicholas, touching his jacket collar. The videos of the event render this description beyond

dispute. The video evidence shows it was Phillips, not Nicholas, who was the instigator of this

encounter, that it was Phillips, not Nicholas, who aggressively and belligerently caused this

confrontation, and that it most decisively was Phillips, and not the teenager Nicholas, who later

characterized this encounter, what Phillips claimed he intended to be a peaceful encounter, as one

in which Nicholas was the bad guy who “blocked” him and “prevented his retreat.” That is the

truth, and any reasonable jury would view that video and reach that same conclusion. The

Defendants have raised no convincing argument for this Court to take that question away from the

jury.

        The Defendants try to argue against what is obvious to the human eye. They piece together

a series of selected statements and observations made by various witnesses, and most notably by

the fabricating speaker himself, in an attempt to create factual ambiguity. That approach is not

uncommon, as litigators often try to re-characterize facts to cloud issues and raise doubt in the

minds of the jury members. But here is what is remarkable: the Defendants attempt to obfuscate

the obvious, and then argue that these obfuscations and revisionist characterizations do not just

cloud the obvious truth, but instead that they conclusively resolve the factual question in precisely

the opposite direction. They argue that the self-interested observations of Nathan Phillips and his

sympathizers actually and necessarily lead to the conclusion that is entirely to the opposite of what

the video evidence clearly shows. They argue that, contrary to what is apparent to the naked eye,

that Nicholas did in fact block Phillips and prevent his escape, and that no reasonable jury could

find otherwise.

        The Defendants’ arguments on this issue are strained and far overreach. The only plausible

conclusion to draw from the video evidence is that Nicholas did not block Phillips, and that Phillips

                                                 6
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lied when he said Nicholas did. Even if the Defendants’ conjecture and innuendo succeeds in

creating some doubt upon that otherwise incontrovertible conclusion, by no means does that

innuendo and conjecture require this Court, on a motion for summary judgment, to conclude that

no genuine dispute of a material fact exists and that the Defendants, as a matter of law, are entitled

to judgment on the basis that Nicholas in fact blocked Phillips and prevented his retreat. Merely

casting some doubt on what appears obvious to the naked eye might be enough to raise a question

for a jury, but certainly it is not enough for a court to rule, on a summary judgment motion, that

there is no jury question at all. See Hanson, 736 Fed. App’x. at 527 (“[W]here the video does not

tell the whole story in a material respect, or ‘reasonable jurors could interpret the video evidence

differently,’ summary judgment is not appropriate.”). Even the Defendants concede that their

hand-picked evidence does not establish a clear, contrary characterization of the encounter. (D.

Joint Memo. at 1 (“[D]ifferent people had distinct . . . perceptions of the same events.”)). At their

strained most, the Defendants’ arguments swing the pendulum from a point of clarity in Nicholas’

favor, toward a point where a jury question is raised. Under no circumstances does the Defendants’

evidence of various statements and observations lead to the conclusion that what is obvious to the

naked eye is in fact not true and could not be found to be true by a reasonable jury.

II.    MATERIAL FACTS IN DISPUTE

       Most of the Defendants’ argumentative depiction, in their Joint Memorandum, of the

January 18, 2019 encounter at the Lincoln Memorial9 is not relevant to this case. For example, the

behavior and motivations of the Black Hebrew Israelites, a protest group that yelled epithets at

both the Catholic students and the Native protestors, is of no moment to the legal issues at hand at


9
 This encounter is sometimes referred to in this litigation, including this Omnibus Memorandum,
as the “January 18 Incident.”

                                                  7
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this stage of the proceedings. Similarly, the subjective intentions of Nathan Phillips when he took

it upon himself to confront the students does not impact the truth or falsity of his accusations.10 It

is the conduct of Nicholas, and Phillips’ statements about it, that matter. Nonetheless, in order that

the Defendants’ imaginative descriptions not mislead this Court, the Plaintiff will correct certain

misperceptions in the statement of facts.

       The Defendants describe Phillips’ motivations in confronting the Catholic students as

peaceful.11 They assert that the practice of beating one’s drum loudly and directly in another’s

face, mere inches from him, is considered “peaceful” within the unique culture of Phillips’ tribal

background.12 They assert that Phillips’ only pathway to “escape” the perceived “swarm,” a swarm

that Phillips was instrumental in creating, was to walk directly into and through a sizable gathering

of students who had been in place for some time, awaiting their bus transportation home.13 Phillips

admits he instigated the confrontation with the students, leaving his position on the mall to move

directly at the student group.14 When the first student (and others) he confronted left his position

and moved away, Phillips then turned to the next student and the next, driving and scattering these

schoolchildren away from their previous positions and from each other.15 This is not the conduct

of a peacemaker; this is the behavior of a bully, confronting children (and notably, not the Black

Hebrew Israelites who were the real cause of the conflict) to make them move. Eventually Phillips


10
   (Phillips Decl. at ¶¶ 16-19).
11
   (E.g., D. Joint Memo. at 14-15, 29, 42).
12
   (E.g., id. at 5, 13, 15).
13
   (E.g., id. at 18-19).
14
   (E.g., Phillips Decl. ¶¶ 16-19).
15
   (Id. ¶ 20-22; Stip. Video 4 at 01:12:18; Stip. Video 5 at 03:55; Stip. Video 12; Stip. Video 15 at
00:30; Stip. Video 17 at 001:01-01:30).




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came to confront the male student standing next to Nicholas, and when that student turned away,

he then moved himself directly in front of Nicholas.16

       Nicholas stayed in his place.17 The Defendants say that Nicholas “blocked” Phillips

because Nicholas did not move.18 The Defendants alternatively claim that Nicholas, who appeared

at one point to shift his weight slightly, moved to a position to stop Phillips’ advance. 19 That is a

wild exaggeration. If Nicholas moved at all from his previously occupied position, the move was

no more than a mere six inches to his left.20 Nicholas was shifting his weight, not moving.21 Indeed,

there was no need to move, as Phillips was making it his business to confront every child who was

on the steps, one-by-one in slow procession.22 Phillips was coming to Nicholas no matter where

Nicholas stood.23 In any event, if Nicholas moved, he did so well before Phillips changed his path

away from the student standing next to Nicholas.24 As the video evidence shows, Phillips was

moving very slowly.25 There was no need to move to get in his way.

       Phillips by his own admission approached the school children, and by his own admission

decided to plow right through the middle of them in order, he claims, to ascend the steps of the

monument.26 A person who has complete freedom of movement on the wide steps of the Lincoln

Memorial cannot be said to be “blocked” by another person just because that other person stands


16
   (Phillips Decl. ¶ 23; Sandmann Dep. 135, 137; Stip. Video 2 at 00:41-00:46; Roberts Dep. 165-
68, Ex. A).
17
   (E.g., Stip. Video 2 at 00:51-03:45).
18
   (E.g., D. Joint Memo. at 22-24).
19
   (Id.).
20
   (Sandmann Dep. at 245-48; Stip. Video 17 at 03:37-03:42 (showing Nicholas did not move)).
21
   (Id.).
22
   (Stip. Video 2 at 00:01-01:00).
23
   (Id.; Sandmann Dep. 149, 166-67, 170, 277, 339; Stip. Video 17 at 05:50, 06:50).
24
   (E.g., Stip. Video 2 at 00:39-00:55; Sandmann Dep. 263-67).
25
   (E.g., Stip. Video 2 at 00:12-00:54).
26
   (Phillips Decl. at ¶¶ 16-19, 21-23).

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still in place. Even counsel for The Washington Post, in an earlier hearing in this litigation,

reasonably conceded this obvious truth:

               If you were to interpret [the blocked/retreat statement] to mean that
               Mr. Phillips was literally prevented from moving in any direction,
               that would be inaccurate. But in the context of the article, what I
               think that means is that Mr. Phillips approached Mr. Sandmann, Mr.
               Sandmann stood still, blocked his path forward. And when Mr.
               Phillips says, wouldn’t allow me to retreat, I think what he meant
               was wouldn’t allow me to get up past Mr. Sandmann to the
               Memorial. But literally, that can’t possibly be true. The steps are
               hundreds of feet wide. All [Phillips] had to do was take a step to
               the side and walk forward, which he decided not to do.”

Sandmann v. WP Company, LLC, Case No. 2:19-cv-19 (Doc. 46; Page ID# 397-98) (emphasis

added). What counsel for The Washington Post reasonably conceded, and what seems beyond

reasonable argument, is now contested by the Defendants in their Motion for Summary Judgment.

Phillips could have just gone around Nicholas, if the true intention were to climb the stairs. Instead,

Phillips ignored clear pathways on his right that led directly to the top of the Lincoln Memorial.27

As Nicholas testified in his deposition, “[Phillips] could have kept going if he wanted to.”28

       No one asked Phillips to approach the students; no one required him to take a path up the

stairs that led directly through the dense gathering of students; no one obligated Phillips to confront

aggressively one student after another, until all had turned away from his bullying.29 By all

appearances, Phillips invented this tale of peacefulness after the fact. He claims his intent was to

ascend the stairs of the Memorial, yet the fact is that he never climbed the stairs, even after the

students had departed.30 Instead, when the children left, he raised his arms in triumph.31 As another


27
   (Stip. Video 12 at 00:01-00:35).
28
   (Sandmann Dep. 175).
29
   (E.g., Phillips Decl. ¶ 17; Sandmann Dep. 149, 166-67, 170, 277)
30
   (Stip. Video 11 at 01:25-40).
31
   (Stip. Video 3 at 03:27).

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Native protestor stated as the children departed, “We won Grandpa, we f---ing won, Grandpa!”32

This was no peace-keeping mission; this was a belligerent confrontation by an activist who has

previously fabricated stories to further his political aims.33

        At bottom, however, the Defendants’ claims that Phillips’ motivations were benign is quite

beside the point. Regardless of his initial motive, Phillips chose to thrust himself into the middle

of a confrontation, and then to pick a side by squaring up to and moving aggressively toward the

children and not the “Black Hebrew Israelite” protestors. His subjective, unspoken motivations are

irrelevant; it is his actions that count. By the same token, equally irrelevant is the racist invectives

of the Black Hebrew Israelites. Even though the Defendants spend many paragraphs discussing

their behavior in detail, the Black Hebrew Israelites are not a party to this case and their words

have no bearing on the decision on whether or not Nicholas did in fact block Phillips and prevent

his retreat. Instead, what is relevant is the physical interaction of Nicholas and Phillips. Even

Nicholas’ speculation about Phillips’ motivations is irrelevant: when pressed by the Defendants’

lawyer in his deposition, Nicholas said, as would anyone, that it is possible that Phillips “could”

have concluded Nicholas blocked him:34

                Q.      Couldn’t Phillips have perceived that you intended to stop
                his path forward?
                …
                A.      He could have. I think he would have figured out really
                quickly, if he tried to move anywhere else, that I wasn’t going to
                follow them.


32
   (Stip. Video 11 at 01:58).
33
   (E.g., Compl. ¶ 10 (NY Times), ¶ 11 (CBS), ¶ 11 (ABC), ¶ 25 (Gannett), ¶ 10 (Rolling
Stone)).
34
   (D. Joint Memo. at 25-26).




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The fact that counsel for Defendants pressed Nicholas in deposition to speculate as to what Phillips

possibly “could have perceived” is inadmissible speculation. It is also irrelevant to the question of

fact at issue. Either Nicholas physically blocked Phillips or he did not. Either Nicholas prevented

Phillips’ retreat or he did not. Phillips’ supposedly benign purpose in confronting Nicholas and

Nicholas’ speculation about Phillips’ possible subjective perceptions do not matter. Phillips

claimed Nicholas blocked his path and prevented his retreat. The objective facts, clearly available

on video, show he did not.

         The video evidence is incontestable. No amount of spinning or after-the-fact claims of

peaceful intent change what is plain to see. Here is what the videos show:

     •   Phillips approached the two groups from a distance with a group of companions who

         appeared to be participants in the Indigenous Peoples’ March happening on the same day.

         (Sandmann Dep. 132-33, 163; Stip. Videos 1-18; Roberts Dep. 145-48).35

     •   Phillips and his group walked from the northeast to the south by approximately 40 to 50

         feet to approach the student group. (Sandmann Dep. 137; Stip. Video 12; Roberts Dep. Ex.

         A).

     •   In walking towards the students, Phillips ignored the Hebrew Israelites and focused on the

         students. (Stip. Video 17 at 00:01-01:30; Roberts Dep. at 152, Ex. A).

     •   Phillips’ companions were holding cameras pointed towards the students. (Stip. Video 15

         at 00:32).


35
   Relevant excerpts of the transcript of Nicholas Sandmann’s deposition are attached hereto as
Exhibit A. Relevant excerpts of the transcript of Dr. Craige Robert’s deposition are attached hereto
as Exhibit B.




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   •   As Phillips and his companions began approaching the crowd of students, Phillips began

       beating a drum and singing loudly. (Stip. Video 12 at 00:08-38).

   •   When Phillips and his companions reached the crowd of students, Phillips was still

       traveling on his northeast-to-south trajectory. (Stip. Video 4 at 01:12:18; Stip. Video 5 at

       03:55; Stip. Video 12; Stip. Video 15 at 00:37-00:40; Stip. Video 17 at 01:18; Roberts Dep.

       Ex. A).

   •   In traveling on this trajectory, Phillips bypassed and ignored clear pathways on his right

       (to the west) leading to the top of the Lincoln Memorial. (Stip. Video 12 at 00:01-00:35;

       Roberts Dep. Ex. A).

   •   When he reached the crowd of students, Phillips walked from the right along the front edge

       of the group of the students, drumming and chanting loudly. (Stip. Video 4 at 01:12:18;

       Stip. Video 5 at 03:55; Stip. Video 12; Stip. Video 15 at 00:30; Stip. Video 17 00:01-

       01:30).

   •   Phillips then waded into the crowd of students, coming closer and closer to Nicholas, who

       was standing three or four rows into the crowd on an icy step. (Sandmann Dep. 147, 158,

       161, 193, 203-204, 213; Stip. Video 4 at 00:38:57 (icy step visible); Stip. Video 17 at 02:33;

       Roberts Dep. at 160).

   •   As Phillips entered the crowd of students, he bumped up against one student standing in

       front of Nicholas, coming into physical contact with him. (Sandmann Dep. 135; 137).

   •   As he continued to wade through the crowd, Phillips nearly walked past Nicholas, who was

       standing on Phillips’ right and slightly above him, in the place he had been standing prior

       to Phillips walking through the crowd. (Stip. Video 2 00:41-00:46; Roberts Dep. at 165-

       68, Ex. A).
                                                13
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   •   Just before Phillips walked past Nicholas, Phillips stopped, turned right, locked eyes with

       Nicholas, moved towards him, and stopped within inches of his face. (Stip. Video 2 at

       00:41-00:46; Roberts Dep. at 155, 165-68, Ex. A).

   •   At the time Phillips turned right to lock eyes with Nicholas, there was a three-foot opening

       to Nicholas’ left and to Phillips’ right. (Stip. Video 2 at 00:54; Stip. Video 16 at 00:06).

       This opening provided a clear path for Phillips to continue ascending the stairs to the

       Lincoln Memorial. (Stip. Video 2 at 00:54; Stip. Video 16 at 00:06; Sandmann Dep. 170).

   •   Phillips could have also retreated the same way he walked in, but Phillips never tried to do

       so. (Sandmann Dep. 149, 166-67, 170, 277).

   •   Phillips intentionally stood in front of Nicholas and did not move other than to beat his

       drum and sing. (Sandmann Dep. 339; Stip. Video 2 at 00:52-03:45).

   •   When he locked eyes with Nicholas, Phillips brought his drum up to approximately 4 to 6

       inches in front of Nicholas’ face, beating the drum stick loudly and causing it to bounce

       violently in front of Nicholas’ face. (Stip. Video 17 at 06:48).

   •   Phillips put his drum so close to Nicholas’ face that the bottom of the drum made physical

       contact with Nicholas’ jacket collar near his shoulder. (Stip. Video 17 at 05:50, 06:50;

       Sandmann Dep. 169).

   •   Nicholas did not move, but stood stock still, smiling and blinking slightly. (Stip. Video 2

       at 00:51-03:45).

   •   Nicholas clasped his hands behind his back. (Stip. Video 14 at 00:03).

   •   Phillips continued to beat his drum in Nicholas’ face for over two and a half minutes, never

       trying to move away. (Stip. Video 2 at 00:51-03:45).


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   •   During the long period of time, Phillips’ companions got close to Nicholas and Phillips and

       pointed large cameras with lights at the two of them. (Stip. Video 2 at 03:00, 03:39).

   •   During the entirety of the encounter between Nicholas and Phillips, the stipulated videos

       show that Phillips never tried to move up the stairs after he turned to face Nicholas; that

       Phillips never moved to one side or the other to go around Nicholas; that Phillips never

       attempted to continue along his previous trajectory; and that Phillips never turned to see

       whether he could retrace his path either back to the north the way he had come or east

       toward the Hebrew Israelites. (See Stip. Videos 1-18; Sandmann Dep. 173, 277, 279-80;

       Roberts Dep. Ex. A;).

   •   Immediately after the school chaperone called for the students to walk south, Phillips’

       companions instigated a confrontation with her. (Stip. Video 11 at 01:00-20).

   •   One of Phillips’ companions, who held a camera to film the encounter between Phillips

       and Nicholas, was standing right next to Phillips, and was wearing a red hat, angrily called

       out to the chaperone: “Ma’am! We had a demonstration here, and you come here and you

       do this, alright?” (Stip. Video 11 at 01:08-23).

   •   As Nicholas and the students were leaving, Phillips turned away from the Lincoln

       Memorial back towards his companions. (Stip. Video 11 at 01:25-40).

   •   The same companion who moments earlier described the interaction between Phillips and

       Nicholas as a “demonstration” yelled, “I got him man,” apparently referring to Nicholas.

       (Stip. Video 11 at 01:29).

   •   The same companion told another companion, as he grabbed Phillips’ right arm, “he won,

       man; he fucking won, man!”, apparently referring to Phillips. (Stip. Video 11 at 01:42;

       Stip. Video 3 at 03:18-03:33).
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       •   Moments later, the same companion put his left fist into the air and shouted out, “we won,

           grandpa; we fucking won, grandpa!”, apparently referring again to Phillips. (Stip. Video

           11 at 01:58).

       •   After a few more moments, Phillips stopped drumming, and the group around him cheered

           and raised their arms in triumph. (Stip. Video 3 at 03:27).

       •   Phillips raised his arms in triumph and shouted to the crowd. (Stip. Video 3 at 03:55).

The stipulated video evidence provides the clearest, “spin-free” account of the episode. Yet the

Defendants do their best to argue that what appears obvious to the naked eye, specifically Phillips’

aggression and provocation, was actually, in his culture, an act of peace-making. This dubious

claim falls far short of adequacy. The Defendants claim that Phillips’ intentions were peaceful,

and that his peaceful intentions suffice not only to cast doubt on what the videos make plain (which

would at most create a jury question), but actually require this Court to enter summary judgment

in their favor. The Defendants’ revisionist history falls far short of meeting the standard for

summary judgment. E.g., Hanson, 736 Fed. App’x. at 527 (“Where, as here, there is a videotape

capturing the events in question, the court must view those facts in the light depicted by the

videotape. However, where the video does not tell the whole story in a material respect, or

‘reasonable jurors could interpret the video evidence differently,’ summary judgment is not

appropriate.”).

III.       THE LAW OF THE CASE

           The “law of the case” doctrine provides that a court should not “reconsider a matter once

resolved in a continuing proceeding.” Howe v. City of Akron, 801 F.3d 718, 739 (6th Cir. 2015).

The purpose of the doctrine is to ensure that the same issues presented a second time in the same

case in the same court should lead to the same result. Id. (internal citations omitted) (emphasis

                                                    16
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omitted); Polec v. Northwest Airlines (In re Air Crash Disaster), 86 F.3d 498, 539 (6th Cir. 1996)

(“Under the law of the case doctrine, rulings made at one point in a litigation can become operative

law for subsequent portions of the litigation.”) (internal citations omitted); GMAC Mortg., LLC v.

McKeever, No. 08-459-JBC, 2010 U.S. Dist. LEXIS 118618, at *5 (E.D. Ky. Nov. 8, 2010) (“The

law of the case doctrine is narrower than claim preclusion and is generally limited to those issues

which have previously decided by the same or a higher court.”).

       The law of the case doctrine applies in the same proceeding in the same court. It applies to

issues that were decided explicitly or were decided by “necessary implication.” As the Sixth

Circuit recently stated:

               The law of the case doctrine provides that “when a court decides
               upon a rule of law, that decision should continue to govern the same
               issues in subsequent stages in the same case.”. . . . Put another way,
               “[t]he law-of-the-case doctrine precludes reconsideration of issues
               decided at an earlier stage of the case.” “The doctrine applies only
               to issues that were actually decided, whether explicitly or by
               necessary implication.”
Daunt v. Benson, 999 F.3d 299, 308 (6th Cir. 2021) (internal citations omitted) (emphasis added).

The doctrine applies to issues decided explicitly, plus those that follow “by necessary implication.”

E.g., Hanover Ins. Co. v. Am. Eng’g Co., 105 F.3d 306, 312 (6th Cir. 1997); Westside Mothers v.

Olszewski, 454 F.3d 532, 538 (6th Cir. 2006); Clark v. Johnston, No. 13-3581, 2014 U.S. App.

LEXIS 25019, at *6 (6th Cir. June 16, 2014) (internal citations omitted).

       The law of the case doctrine can only be disregarded when the court has “a clear conviction

of error” with respect to a point of law on which its previous decision was predicated. Moses v.

Business Card Express, Inc., 929 F.2d 1131, 1137 (6th Cir. 1991) (citing Fogel v. Chestnutt, 668

F.2d 100 (2d Cir. 1981) (Friendly, J.)). The law of the case doctrine precludes reconsideration of

a previously decided issue unless one of three “exceptional circumstances” exists: (1) where

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controlling law has been changed by an intervening decision of a higher court; (2) when relevant

evidence is newly available; or (3) where a prior decision is clearly erroneous and would work a

manifest injustice. Westside Mothers v. Olszewski, 454 F.3d 532, 538 (6th Cir. 2006) (citing

Hanover Ins. Co. v. Am. Eng’g Co., 105 F.3d 306, 312 (6th Cir. 1997)) (quotations in original).

        This Court has recognized the importance of the law of the case doctrine to promote the

efficient use of judicial and litigation resources. Campbell v. Republican Cent. Commt., E.D. Ky.

No. 05-293 (WOB), 2010 U.S. Dist. LEXIS 5400, at *7 (Jan. 25, 2010) (Bertelsman, J.) (citing

United States v. Moored, 38 F.3d 1419, 1421 (6th Cir. 1994) (“findings made at one point in the

litigation become the law of the case for subsequent stages of that same litigation”)). Although the

law of the case doctrine does not divest the federal court of its inherent power to amend its orders,

see United States v. Kentucky Util. Co., 124 F.R.D. 146, 153, n.1 (E.D. Ky. 1989), policy

considerations support application of the law of the case doctrine. The doctrine promotes

efficiency, good order, and precludes needless duplication of effort by courts and litigants. Most

importantly, adherence to the law of the case furthers the goal of consistency in judicial decisions,

allowing lawyers and their clients to rely on established rulings as the case progresses through

motions and discovery. See Joan Steinman, Law of the Case: A Judicial Puzzle in Consolidated

and Transferred Cases and in Multidistrict Litigation, 135 U. Pa. L. Rev. 595, 598 (1987).

        The law of the case doctrine is prudential; a court may for good reason revisit earlier issues

but should decline to do so in order to encourage efficient litigation and deter “indefatigable

diehards.” Howe, 801 F.3d at 739. This sensible and sound rule supplies clarity to litigation.

Although the law of the case is not ironclad in its application, none of the recognized exceptions

applies in this matter.



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                [T]he courts have created a variety of exceptions, and commentators
                have discerned and advocated additional variables which should
                temper the rigor with which the doctrine is applied. Thus, many
                decisions indicate that a ruling should be reconsidered when
                controlling law has been changed by an intervening decision of a
                higher court, when relevant evidence is newly available, and when
                necessary to correct a clear error and to prevent manifest injustice.
Steinman, supra at 600. There has been no change in law and no claim of “clear error” or “manifest

injustice” in this Court’s prior rulings. The other exception is for “relevant” newly available

evidence. The Defendants might contend that the observations of Phillips or the various

speculations of bystanders or even Sandmann himself constitute new evidence. Even if such

commentary is new, it is not relevant, as required by the exception. The fact/opinion issue is a

question of law. It requires the Court to examine and assess the words used in the defamatory

statement. No “new evidence” would be germane. The Court’s rulings were legal rulings, not

factual ones. Similarly, the question of defamatory character is also a question of law: this Court

must decide if the statement is “capable” of a defamatory meaning. This inquiry is, by law, limited

to the four corners of the document. Extrinsic evidence, such as statements by bystanders or others,

is not part of the court’s consideration. There is no “new evidence” that is relevant to the issue of

the defamatory character of Phillips’ statements.

        In the context of this litigation, for the Court to engage in another reconsideration of the

Court’s prior rulings would be especially untimely. In response to the Court’s prior determination

and orders, the parties spent the majority of 2021 conducting extensive discovery on the truth or

falsity of the blocked/retreat statements. It would have been pointless to conduct discovery on the

issue of the truth or falsity of statements if the statements were not capable of being proved true

or false in the first place.




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         In the particular context of this litigation, both the “fact/opinion” issue and the “capable of

defamatory meaning” issue have long ago been put to rest. The parties briefed and argued these

points extensively, and twice, in resolving the Defendants’ motions to dismiss. The Court ruled on

these points, either impliedly or explicitly. No new precedent or other source of law has been

issued in the meantime that would compel this Court to reconsider its prior decisions. Nonetheless,

the Defendants are using this summary judgment motion, which by stipulation of the parties was

to be limited to the question of the truth or falsity of the block/retreat statements, to attempt another

bite of the apple. Fearful that silence might be construed as admission, the Plaintiff will answer in

kind, re-arguing (in the sections to follow and in Plaintiff’s Supplemental Memorandum in

Opposition to Defendants’ Supplemental Memoranda) the points that the blocked/retreat

statements constitute statements of fact and that the statements are defamatory in character. This

Court, however, need look no further on these two issues. The Court has already resolved these

points of law and has done so in a thoughtful manner that is clearly consistent with the law. The

Court had it right when it fully considered these issues and denied Defendants’ motions to dismiss.

         A.      This Court Has Ruled “By Necessary Implication” on the “Opinion” Issue,
                 and it Should Not Be Revisited.

         Without question, this Court explicitly ruled that the blocked/retreat statements are

defamatory in character.36 With respect to the fact/opinion issue, even if this Court did not resolve

it explicitly, it did so by “necessary implication.” It would have made no sense for this Court to

order the parties to undertake this extensive and expensive Phase One discovery to determine the

truth of Phillips’ statements were those statements not “susceptible to being proven true or false.”


36
     See Section III.B, infra.



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A statement is actionable only if “the statement in question makes an assertion of fact – that is, an

assertion that is capable of being proved objectively incorrect” or otherwise “connotes actual,

objectively verifiable facts.” Clark v. Viacom Int’l, Inc., 617 F. App’x 495, 508 (6th Cir. 2015)

(citing Milkovich v. Lorain Journal Co., 497 U.S. 1, 20 (1990)); Compuware Corp. v. Moody's

Investors Servs., 499 F.3d 520, 529 (6th Cir. 2007). Kentucky adheres to Milkovich’s “provable as

false” standard. E.g., Sandmann v. WP Company, LLC, Case No. 2:19-cv-19 (Doc. 47; Page ID#

453)).

         The history of this litigation is instructive on this point. In its initial determination in these

cases, this Court held that “whether Phillips was ‘swarmed’ or ‘blocked’ is simply not ‘capable of

being proved objectively incorrect.’” Id. at Page ID# 460. One key to the Court’s initial opinion

was that Phillips, in describing the scene, disclosed all of the facts that led him to his conclusion

about being “blocked” while not “allowed to retreat.” But the defense of “full disclosure of

underlying facts,” as the Court made clear on reconsideration, applies only if the block/retreat

statements constitute “opinion.” If instead those statements constitute statements of fact, as the

Court subsequently found them to be, then the disclosure of other facts is irrelevant. As the Court

held in this matter, with regard to statements of fact, context does not matter:

                 In the motion to dismiss, defendants also argue that the statements
                 at issue cannot be libelous because the publications in full included
                 statements more favorable to Sandmann’s view of the events.
                 However, no amount of context removes the meaning of a statement
                 alleged to be defamatory per se.
Sandmann v. CBS News, Inc., et al., Case No. 2:20-cv-24 (Doc. 34, Page ID# 277); see also

Sandmann v. ABC News, Inc., et al., Case No. 2:20-cv-25 (Doc. 36; Page ID# 317) (same). No

matter what other facts or statements were disclosed, the publication of false defamatory facts is

actionable.

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       This Court reversed its ruling as to the blocked/retreat statements by Order dated October

28, 2019. Sandmann v. WP Company, LLC, Case No. 2:19-cv-19 (Doc. 64). The Court held:

“Suffice to say that the Court has given this matter careful review and concludes that ‘justice

requires’ that discovery be had regarding these statements and their context. The Court will then

consider them anew on summary judgment.” Id. at Page ID# 861. In a footnote to that statement,

the Court wrote, “[t]he Court has reviewed the videos filed by both parties and they confirm this

conclusion.” Id. As the Court explained more fully in its Order in the CNN litigation:

               All the claims in the proposed amended complaint turn on
               determining the truth of what happened in the confrontation between
               plaintiff and Mr. Phillips. Without going into detail, if some of the
               statements made by Mr. Phillips are false, they are also potentially
               libelous.
Sandmann v. Cable News Network, Inc., Case No. 2:19-cv-31 (Doc. 43; Page ID# 596). Phillips’

statements are potentially libelous if they are false. In other words, the Court’s decision clearly is

based on the understanding that the antecedent legal issues of “opinion” and “capable of

defamatory meaning” had been resolved. All the claims “turn,” as the Court noted, on the truth of

what happened in the confrontation between Nicholas and Phillips. The other issues had been

resolved.

       The language used by the Court makes it clear that the parties were to conduct discovery

to determine whether or not what happened on the Mall is consistent with Phillips’ description of

the events. The Court’s prior Orders were based on its implicit holding that the block/retreat

statements are statements of fact; the Court sent the parties to discovery to determine if the factual

statements are true:

               As in the Washington Post case, the Court believes that discovery is
               necessary to determine what happened in the unfortunate events
               which give rise to this litigation, and, to determine whether
               defendant accurately reported them, and, if it failed to do so, whether
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               the failure was due to negligence or malice. Naturally, following a
               sufficient period for discovery, these issues will again be reviewed
               at the summary judgment phase under a more stringent standard.
Id. at Page ID# 597. Note carefully the language of the Court’s Order: “these issues” will again be

reviewed. “These issues” are listed in the previous sentence, specifically did the Defendants

“accurately” report on “what happened,” and if not, was there fault. The Court did not order

discovery on the fact/opinion issue; it would have made no sense if it had, as nothing the parties

could learn in discovery would impact this question of law. The Court’s Orders moved the parties

past the “opinion” issue and into the actual truth of the statements. The Court would not have

ordered a year’s worth of discovery only to revisit a purely legal question already determined at

the pleading stage.

       Magistrate Judge Smith’s Scheduling Order provides additional evidence that all parties

and the Court understood the fact/opinion issue as decided. The Scheduling Order, which was

entered in all five pending cases, states that parties have agreed that “Phase One” of the discovery

process will be “limited ‘to facts pertaining to the encounter between Plaintiff and Mr. Nathan

Phillips” and that this Phase “will be directed to ‘whether Nathan Phillips’ statements that Plaintiff

“blocked” him or “prevented him from retreating” (the “Blocking Statements”) are true or

substantially true, or otherwise not actionable based on the undisputed facts developed during

initial discovery and the issues defined in the Court’s prior decisions.’”37 Only facts can be verified

by evidence. Opinions are statements of belief, attitude, value, or judgment. No court would order

discovery to determine whether or not a statement constituted protected opinion.


37
  Sandmann v. The New York Times Co., Case No. 2:20-cv-23 (Doc. 38); Sandmann v. CBS News,
Inc., et al., Case No. 2:20-cv-24 (Doc. 44); Sandmann v. ABC News, Inc., Case No. 2:20-cv-25
(Doc. 49); Sandmann v. Gannett Co., Inc., Case No. 2:20-cv-26 (Doc. 50); Sandmann v. Rolling
Stone, LLC, Case No. 2:20-cv-27 (Doc. 45).

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       B.      This Court Has Ruled “Explicitly” on the “Defamatory Character” Issue, and
               it Should Not Be Revisited.

       In its initial opinion in the Washington Post matter, Sandmann v. WP Company, LLC, Case

No. 2:19-cv-19 (Doc. 47), this Court ruled that the statements that Nicholas blocked Phillips and

prevented his escape were not defamatory. The Court stated that the article in question “cannot be

reasonably read as charging Sandmann with physically intimidating Phillips,” nor that Nicholas

“engaged in racist conduct.” Id. at (Doc. 47; Page ID# 464-65). Upon reconsideration, after full

briefing and argument, this Court reversed its ruling. Sandmann v. WP Company, LLC, 2:19-cv-

19 (Doc. 64). It ruled that the article did accuse Nicholas of conduct “of such nature that courts

can presume as a matter of law that they do tend to degrade or disgrace [the plaintiff], or hold him

up to public hatred, contempt or scorn.” (Id. at Doc. 47; Page ID# 465).

       Phillips’ statement described a white, Catholic student wearing a MAGA hat as blocking

the way of a peaceful, minority protestor, and also of preventing him from escaping the situation.

Nicholas’ conduct, were it true, is racist conduct. One would be hard-pressed to depict physical,

unspoken conduct that would be more overtly racist. Phillips’ statements accuse Nicholas of

engaging in conduct, objectively visible and verifiable, that was directed at a peaceful minority

member who was innocently beating his ceremonial drum. The conduct of which Phillips accused

Nicholas, judged exclusively within the four corners of the publication, smacks of racism,

disrespect, privilege, insensitivity, and bigotry.

       If readers are able, by reasonable construction, to conclude this language has a derogatory

meaning, then that language is defamatory. RESTATEMENT (SECOND)            OF   TORTS § 563 cmt. c

(1977). This defamatory construction was entirely reasonable. The most common construction of

Phillips’ description of the events was that Nicholas was guilty of behaving despicably, in a manner


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worthy of public obloquy and scorn. The common and widespread public reaction to these

publications provides strong evidence that the most reasonable reading of the publications was the

defamatory one: Nicholas was denounced widely, not just by anonymous contributors on social

media, but also by noted political leaders at the national level, by celebrities and athletes from all

walks of life, by the Mayor of his home city, and even by the Bishop from his home church diocese.

The image of Nicholas that accompanied many of these publications immediately became the face

that was the target of widespread obloquy. Phillips’ words, without the need for any “innuendo or

explanation,” created immediate and widespread “public hatred, contempt or scorn.”

       Once again, further argument is not necessary. The “defamatory character” of Phillips’

statements presents a question of law, one that was fully briefed and argued in the Motion to

Dismiss stage, and one on which the Court has already ruled:

               Therefore, as in the two related cases, the Court finds that the
               statements that plaintiff “blocked” Phillips or did not allow him to
               retreat, if false, meet the test of being libelous per se under the
               definition quoted above.

Sandmann v. NBCUniversal, LLC, Cov. Case No. 2:19-cv-56 (Doc. 43; Page ID# 755). This Court

explicitly found the blocked/retreat statements to constitute libel per se. The issue left to resolve

in Phase One discovery and summary judgments is “if false.” The Court ruled that the statements

are libelous per se, if they are false. Hence the Court sent the parties off to discovery to determine

and present motions for summary judgment on whether or not Phillips’ statements were in fact

false. Yet the Defendants, as they do with the fact/opinion issue, seek to relitigate this decided

question of law, re-raising arguments in an effort to entice this Court to reconsider its previous

rulings. Most likely the Defendants seek to re-litigate decided issues because discovery has taught

them that Nicholas did in fact not “block” Phillips, nor in any plausible way can it be said Nicholas


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“did not allow Phillips to retreat” to another place along the wide stairs of the Lincoln Memorial.

The Defendants published defamatory statements of fact that were, if false, so defamatory that this

Court properly found them to constitute “libel per se.”

         The Defendants should not be allowed to use this summary judgment process to re-litigate

matters already resolved at the motion to dismiss stage. This Court’s previous Orders make it clear

that this issue has been conclusively argued and resolved. Yet here the Defendants come again,

arguing the same point. They argue it in their massive Joint Memorandum. They each argue it

again in their individual Supplemental Memoranda. They refuse to take no for an answer. In the

New York Times’ Order, after the Court carefully explicated the standard for “defamatory”

statements under Kentucky law, the Court made its holding clear, so that there would be no

mistake: “The allegations of the Complaint fit this definition precisely.”38

         C.     The Law of the Case Allows This Court to Disregard Much of Defendants’
                Substantive Arguments.

         If the Court applies the “law of the case” doctrine and properly declines to consider these

issues for the third time, then the sections of the Defendants’ Joint Memorandum that deal with

the “fact/opinion” issue and the “capable of defamatory meaning” issue may be entirely

disregarded. The law of the case resolves two of the three grounds for the Defendants’ Motion for

Summary Judgment. In addition, each of the Defendants filed a Supplemental Memorandum that

raise the same two issues already decided: specifically, that the statements constitute “opinion”

and that they are not “defamatory.” The Court may and should ignore the Defendants’

Supplemental Memoranda as all the issues they raise have already been decided and fall within

the doctrine of the law of the case.


38
     E.g., Sandmann v. The New York Times Co., Case No. 2:20-cv-23 (Doc. 28; Page ID# 218).

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       For fear that the Defendants’ arguments will go unanswered, the following sections will

address the defendants’ re-warmed arguments previously rejected by this Court. For the sake of

clarity, this Omnibus Memorandum will address primarily the arguments made in the Defendants’

Joint Memorandum on this issue. Nicholas is also filing a Supplemental Memorandum in

Opposition that will respond to each Defendant’s individual Supplemental Memoranda.

IV.    THE “BLOCKING STATEMENTS” ARE STATEMENTS OF FACT, NOT
       OPINION.

       The Defendants’ argument that the block/retreat statements are “opinion” starts on the

wrong foot. They argue that the observations of various witnesses and the context of their

publications somehow changes the character of Phillips’ statement, converting a factual contention

into a statement of opinion. This argument misapprehends the law. The decision whether or not

Phillips’ statement constitutes “fact or opinion” does not involve a consideration of other facts or

observations. It does not matter that other witnesses might have described the scene differently.

What matters is that Phillips described a real event in factual terms and that the Defendants

published his factual statements. Whether or not a statement constitutes opinion is a question of

law. E.g., Cromity v. Meiners, 494 S.W.3d 499, 504 (Ky. Ct. App. 2015).

       The Defendants provide a lengthy recitation in their Joint Memorandum of the opinions in

Lassiter v. Lassiter, 456 F. Supp. 2d 876 (E.D. Ky. 2006) and Loftus v. Nazari, 21 F. Supp. 3d 849

(E.D. Ky. 2014). As this Court would in particular know, those cases do not apply here. Both

Lassiter and Loftus involved statements that constitute opinions. The Court in those cases first

determined the statements to be “opinions,” not “statements of fact.” See Loftus, 21 F. Supp. 3d

at 853. “[I]n her opinion, [her post-surgical conditions] are the result of the surgery, which – also

in her opinion – involved negligence on the part of Dr. Loftus.” Id.


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       In a case involving a statement of opinion, Lassiter and Loftus hold that opinions can be

actionable as defamation if they imply facts that are themselves defamatory; however, if all the

facts that support the opinion are disclosed, then the opinion is not actionable. Even a statement of

opinion is “actionable . . . if it implies the allegation of undisclosed facts as the basis for the

opinion.” Id. at 853 (citing Yancey v. Hamilton, 786 S.W.2d 854, 857 (Ky. 1989)).

       In short, the “disclosure of facts” discussion is relevant only where the defamatory

statement itself is an opinion. Id. at 853 (“[I]t may be seen that all of [the defendant’s] statements

concerning the allegedly poor results of her surgery are protected opinion, because they do not

imply the existence of undisclosed facts.”); Lassiter, 456 F. Supp. 2d at 882 (“The facts on which

she based the [opinion] were disclosed in the book.”) (italics in original); Yancey, 786 S.W.2d at

857 (“A defamatory communication may consist of a statement in the form of an opinion, but a

statement of this nature is actionable only if it implies the allegation of undisclosed defamatory

fact . . ..”); Cromity v. Meiners, 494 S.W. 3d 499, 504 (Ky. Ct. App. 2015) (“Since Meiners fully

disclosed the facts supporting his opinion, and those facts are not provable as false, Meiners’

opinions are constitutionally protected . . ..”); Chatterjee v. CBS Corp., No. 6:19-CV-212-REW,

2020 U.S. Dist. LEXIS 20346, at *22-23 (E.D. Ky. Feb. 6, 2020) (holding in a mixed opinion case,

where resort to the publication as a whole was needed to determine whether or not the opinion that

“at the core of it [the plaintiff’s conduct] all was greed” implied knowledge of defamatory facts,

such as prescribing “unnecessary” surgical procedures).

       The Defendants completely flip the law on its head. They argue that, because the

underlying facts were disclosed, then that disclosure renders Phillips’ statements opinions. That is

the reverse of Loftus and Lassiter. Disclosure of facts cannot transform a statement of fact into a

statement of opinion. This case does not involve opinion. This case involves the assertion of facts

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that are themselves false and defamatory. Disclosure of “underlying facts” do not make a statement

into an opinion. There is no such thing as facts “underlying” facts. Facts underlie opinions. A

statement that is an opinion is rendered non-actionable if the speaker discloses the relevant

underlying facts. That is what Lassiter and Loftus held.

       The word “block” is factual. As the Court noted in its initial opinion,

citing to the Oxford English Dictionary, “block” is a transitive verb. Sandmann v. WP Company,

LLC, Case No. 2:19-cv-19 (Doc. 47; Page ID# 460). A transitive verb requires an object;

specifically, it is a verb that requires an object to receive the action of the verb. 39 By its very

definition, a transitive verb refers to some external object, describing the action that impacts that

object.40 A transitive verb is consistent with a statement of fact.

       A.      The Individualized Arguments in the Supplemental Memoranda.

       The Defendants’ individual Supplemental Memoranda each, in a nutshell, argue that their

respective articles are special, that a full consideration of the “context” and “gist” of their

respective articles should lead this Court to find that the blocked/retreat statements constitute

protected opinion. First, the law of the case doctrine precludes this repetitive reconsideration. On

the merits, these particularized arguments misapprehend the law. As this Court tried to make clear

in its previous Orders:

               In the motion to dismiss, defendants also argue that the statements
               at issue cannot be libelous because the publications in full included
               statements more favorable to Sandmann’s view of the events.
               However, no amount of context removes the meaning of a statement
               alleged to be defamatory per se.


39
       E.g., Walden University, Grammar: Transitive and Intransitive Verbs,
https://academicguides.waldenu.edu/writingcenter/grammar/verbs#:~:text=Prepositions,Transitiv
e%20Verbs,object%20to%20receive%20the%20action (last visited Feb. 9, 2022).
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   Id.

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Sandmann v. CBS News, Inc., et al., Case No. 2:20-cv-24 (Doc. 34, Page ID# 277); see also

Sandmann v. ABC News, Inc., et al., Case No. 2:20-cv-25 (Doc. 36; Page ID# 317) (same). No

considerations of “other disclosed facts” or the context taken from “the article as a whole” or “the

gist” and so forth are relevant to this issue. A statement of fact is not subject to contextual

interpretation. The “context” or “whole” of the article cannot determine the character of a clear

and unambiguous statement. Defendants have taken the standard they argue applies to the question

of the defamatory character of the statement, namely that the “article as a whole” must be

consulted, and mistakenly assumed it also applies to the fact/opinion issue. It does not.

       On the issue of fact vs. opinion, reference to the entirety of the article or publication is

relevant in two limited instances. First, the common instance, is where the defamatory statement

constitutes an opinion but is not a “pure opinion.” In these situations, the entirety of the document

must be reviewed to determine if the “mixed opinion” is actionable, specifically if the opinion

implies defamatory facts and fails to provide a sufficient factual basis for the reader to assess the

opinion. See e.g., McCall v. Courier-Journal and Louisville Times, 623 S.W.2d 882, 884 (Ky.

1981); Loftus v. Nazari, 21 F. Supp. 3d 849, 853 (E.D. Ky. 2014); RESTATEMENT (SECOND) OF

TORTS § 566 (1977) (“A defamatory communication may consist of a statement in the form of an

opinion, but a statement of this nature is actionable only if it implies the allegation of undisclosed

defamatory fact as the basis for the opinion.”).

       This court’s opinion in Lassiter v. Lassiter, 456 F. Supp. 2d 876, 881-82 (E.D. Ky. 2006),

aff’d, 280 F. App’x 503 (6th Cir. 2008) is once again instructive on this point. There, a woman

accused her husband of committing adultery. This Court first determined that the accusation was

a matter of opinion, as it involved judgments about sexual behavior and unwitnessed events.

Nonetheless, this statement did not constitute “pure opinion” because to accuse someone of

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“adultery” is to imply certain facts (specifically, an illicit sexual liaison) that itself could be

defamatory. This Court therefore proceeded to consult the publication “as a whole,” and

determined that the book as a whole conveyed all the facts on which the speaker based her opinion.

Because the book did disclose all the facts underlying the opinion, the statement of opinion was

not actionable defamation. Lassiter, 456 F. Supp. 2d at 882 (“The facts on which she based the

[opinion] were disclosed in the book.”)

       The important consideration, for present purposes, is that the court is to consult and

consider other statements in the publication only in “opinion cases,” specifically to determine if

sufficient facts are disclosed to support the opinion. As this court wrote in italics in Lassiter in

order to emphasize the point:

               Thus, what the trial court must decide in “opinion cases” is whether
               a reasonable person reading the statement in the context of the
               whole article would believe it is based upon alleged facts, which, if
               untrue, would be defamatory.

Lassiter, 456 F. Supp. 2d at 881-82 (emphasis in original) (internal citation omitted). As this Court

made clear in Lassiter, this rule is for “opinion cases.” Defendants have mistakenly assumed this

rule also applies to “fact cases.”

       The second instance where a court needs to resort to the publication “as a whole” to assist

in the determination of the fact/opinion issue arises infrequently. This need to resort to the overall

meaning of the publication is necessary only where there is some confusion about the content or

meaning of the statement of fact itself. Cf. Milkovich v. Lorain Journal Co., 497 U.S. 1, 26 (1990).

No such confusion is present. There is no need to review the “gist” to decide whether or not Phillips

accused the plaintiff of blocking him and preventing his retreat. He did so state, without

qualification or ambiguity.


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        B.      The Alleged Subjectivity of “Blocked.”

        The Defendants also assert that the term “blocked” has elements of subjectivity, which in

turn makes it inherently subjective, which in turn makes the word an expression of opinion. This

argument “smells of the lamp.” It stretches common sense and everyday discourse beyond reason,

embracing a semantical epistemology suitable to an introductory course in philosophy, not a court

of law. Courts must separate “fact” and “opinion” in a way that is understandable to the reasonable

person and that provides a cogent predictor of liability. There are elements of subjectivity in nearly

everything. If the Defendants’ approach to “opinion” were followed, it would leave no room for

shared reality, reducing common factual observations to nothing but matters of opinion.

        People use the word “block” in everyday discourse. Everyone understands and could

describe the facts it denotes: a car parked in a driveway could “block” another from leaving; but a

car parked in the middle of an empty parking lot could not be said to “block” another car, even if

that other car’s driver were intent on exiting by driving directly through the parked car’s space.

These are factual terms. They are easily capable of being proved true or false. A jury would be

well-positioned to pronounce on this issue. The Plaintiff’s linguistic expert, Dr. Roberts, describes

the blocking statements as susceptible to determining “truth conditions,” which she terms “purely

descriptive.” (Roberts Dep. 107-08, Ex. A). “Block” is a descriptive term; it is, as this Court noted,

a transitive verb. Sandmann v. WP Company, LLC, Case No. 2:19-cv-19 (Doc. 47; Page ID# 460).

It refers to a real, observable, physical juxtaposition of human bodies. Either Nicholas blocked

Phillips, or he did not.

        “Blocked” is the simplest form of expression. No more elementary way of describing this

physical juxtaposition is available in the English language. One could engage in circumlocution,

substituting the definition of “blocked” for the word itself (such as “X stood in Y’s way”; or “X

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didn’t let Y through the door”), but these are just other ways of using the word “blocked.” The

English language contains no more elemental way to describe “block”: there are no words that

allude to more minute actions that, together, add up to “block.” By analogy, no one would respond

to a person who said “I smell smoke” with the retort that such an observation is all a matter of

opinion and that instead give us the facts. What facts underlie “smoke”? What does smoke smell

like? The English language contains no words to describe the smell of smoke, or to break the smell

of smoke down to a more minute factual component. It’s just smoke, and the person who states he

smells it is making a statement of fact: an observation about the material world that is completely

grounded in sensory observation and everyday discourse.

       The Defendants argue that, because Phillips claims a different “subjective assessment” of

the episode, that changes his statement of fact into an opinion. Witnesses have differing accounts

of the facts all the time; that difference does not convert a fact to an opinion. The Defendants point

to Underwager v. Channel 9 Australia, 69 F.3d 361 (9th Cir. 1995) to claim that “motivations” are

subjective. That conclusion misreads the case. The statements at issue in Underwager “reflect[ed]

opinions of [the plaintiff’s] motivations and personality.” Id. at 397. In other words, these

statements were about motivations as a subject. These statements were obviously protected

opinions because, as the court stated, “such an assertion is not capable of verification.” Id. The

statements constituted “opinion” because they were not verifiable, not because the subject matter

of those statements happened to be the subjective motivations of another. It is not the subject matter

or object of the statement that renders it an opinion: one could offer opinions on any subject,

including the behavior of other people, their motivations or intentions, or anything under the sun.

It is the content of the statement that matters: did the statement express words that are capable of



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verification, of being proved true or false, or did it not? That is the law, and not the “subjectivity

test” urged by the Defendants.

       By the same token, deposition statements by Nicholas that, at a later point, he himself was

“blocked” do not make the term “blocked” an opinion. All people, including Nicholas, can be

“blocked” in certain settings and circumstances. Just because it can happen to others does not make

Phillips’ statement into an opinion; indeed, the fact that all of us can be “blocked” in certain

circumstances is strongly suggestive that “blocked” is a statement of fact. We’ve all been blocked,

and we all know what it means to be blocked. It is a statement of fact.

       The remainder of Defendants’ argument on “opinion” quite simply does not matter to the

determination. Their brief at length recites Phillips’ supposedly benign intentions, his surprise that

his fellow Native protestors chose to follow him, his astonishment that his unknown accomplices

were recording his actions with the sizable cameras and bright lights they happened to have in

hand and right next to him, his claim that he acted “on the spur of the moment,” and so forth. None

of Phillips’ story, true or fictitious, matters to the issue of opinion vs. fact. What matters to

defamation liability is what Phillips said; the rest of Defendants’ prolonged explanation of Phillips’

claimed purposes is of no moment to this question of law.

       Defendants also make much of their claim that Phillips’ actions were, properly understood

in Native cultural context, peaceful and benign. It may be that beating one’s drum loudly for

several minutes after walking up to and standing directly in front of and within another person’s

personal space is indeed peaceful in the Native culture. Even if it is, on this issue, Phillips’

subjective (and dubious) personal motives are of no concern. We are concerned with his words.

His words describe Nicholas’ conduct, not his own, and do so in a way that accused Nicholas of



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conduct that brought Sandmann into immediate public disrepute. Phillips’ allegedly peaceful

intentions are not germane to the issue.

       C.      “Block” is a Statement of Fact.

       The radical idealist philosopher George Berkeley once argued that there were no statements

of fact, that it is all a matter of opinion. He asserted that the real world does not exist apart from

our perception of it. “It is indeed an opinion strangely prevailing amongst men, that houses,

mountains, rivers, and in a word all sensible objects have an existence natural or real, distinct from

their being perceived by the understanding.” (Berkeley, 1710: 25). Courts of law, however, are not

afforded the epistemological conceit of thinking it a “strange opinion” that the material world of

houses and mountains has a real existence. Courts must presume a real world and must distinguish

statements that describe that real world from mere opinions about it. Courts are to apply the

perspective of the “average reader” to distinguish fact and opinion, to separate what is capable of

being “true or false” from what is just another perspective in an ongoing debate. The alleged

defamatory words must be measured by their natural and probable effect on the mind of the average

lay reader and not be subjected to the critical analysis of the legal mind. E.g., Digest Publishing

Company v. Perry Publishing Co., 284 S.W.2d 832, 834 (Ky. 1955).

       To state that one person “blocked” another is a statement of fact. It is a statement about the

physical world, taken directly from our sensory perception of it. The block happened or it didn’t.

It is true or it is false. It is a matter that is readily observable by any bystander; it involves the

oppositional position of two human bodies in a confined space; it requires a certain pose of

belligerence on the part of one toward another; it is something that all of us, at some time in our

lives, have either done or had done to us. If asked, we would recount such an activity without the

need for elaboration: “Then A blocked B from leaving the room,” one might say. No listener,

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hearing this description, would be left with a need for additional explanation to understand the

speaker. We could all immediately picture the scene, with A standing in B’s way as B tried to

leave through the doorway. It is a statement of fact and commonly accepted and understood as

such.

        The statement describes conduct. It does not matter if the statement describes one’s own

conduct or the conduct of another. The Restatement defines “statements of fact” for defamation

law: “Statements of fact, the communication of which is defamatory, usually concern the conduct

or character of another.” RESTATEMENT (SECOND) OF TORTS § 565 (1977). Prefatory qualifications

do not matter: stating “I believe” before a statement of fact does not change its character. As Judge

Friendly cautioned, speakers should not be considered to have converted statements of fact into

opinions so easily. Cianci v. New Times Pub. Co., 639 F.2d 54, 64 (2d Cir. 1980) (Friendly, J.) (“It

would be destructive of the law of libel if a writer could escape liability for accusations of crime

simply by using, explicitly or implicitly, the words ‘I think.’”).

        The previous analogy is useful to repeat: when a person says, “I smell smoke,” the speaker

of course could be truthful or untruthful, or mistaken or lying. But the speaker cannot be accused

of uttering an opinion, because no additional explanation or a request to “describe what you mean

by smoke” is expected or possible. We first observe, then our senses identify the observation to

our mind, and next we speak: “I smell smoke.” How else could we explain such a thing? What

does smoke smell like? No one can describe it, except circularly, that smoke smells like smoke.

The same is true of “blocking.” We can add words to the explanation, thus using other words to

define “blocking,” but in the end all we can say is that “blocking” means that one person stood in

the way of another, or “blocked” her. It is a circular explanation, and it’s circular because it is a

statement of fact. We lack any words in common usage that explicate facts at a more basic level

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than the fact itself. A fact drawn from direct sensory data is a human being’s most basic unit of

description. It would be nonsensical to ask a speaker who said another blocked his path, “what do

you mean by “blocked”?” The answer could only repeat the word “block” or provide the dictionary

definition of it, along the lines of “you know, he stood in my way to prevent me from advancing,”

which is “blocked” in so many words. Statements of fact are the way we describe matters that are

rationally based on perception. Statements of fact can be true or false, or the speaker could be lying

or mistaken, but in no sense does a statement of fact become an opinion just because people

disagree about what they did or saw or smelled. The necessary subjectivity of our sensory

perceptions or everyday observations does not convert every sense impression or observation into

a matter of opinion. If it did, then no statements of fact would exist.

       Judicial opinions from other jurisdictions provide examples of statements of fact that

involve far more subjective perceptions than “blocking.” The statement that plaintiff was a “liar”

who committed perjury was held to be a statement of fact. Milkovich v. Lorain Journal Co., 497

U.S. 1, 19 (1990). The statement that an “employee is extremely confrontational and exhibiting

constant insubordinate behavior” was held to be a statement of fact. McCray v. Infused Solutions,

LLC, No.4:14-cv-158, 2018 U.S. Dist. LEXIS 88645, at *25 (E.D. Va. May 25, 2018). A

supervisory attorney’s statement that associate “did nothing” to solve a statute of limitations

problem constituted statement of fact. Mittelman v. Witous, 552 N.E.2d 973, 983, 985-86 (Ill.

1989). A statement to a newspaper that employee was terminated for “poor performance” was

statement of fact. Samuels v. Tschechtelin, 763 S.2d 209, 242 (Md. Ct. Spec. App. 2000). A

statement that plaintiff “told anti-Semitic jokes” was a statement of fact. Tech Plus, Inc. v. Ansel,

793 N.E.2d 1256, 1266 (Mass. App. Ct. 2003). All of these statements could be proved true or



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false; in each instance, the speaker could be a liar or mistaken in his perception of reality.

Nonetheless, all were statements of fact.

       Phillips uttered a fact and did not engage in rhetorical hyperbole. He was not speaking

jocularly, nor offering a comment. He did not qualify his statement. There is no ambiguity about

what he said. As the Restatement makes plain, the factfinder is to resort to the overall “gist” or

“meaning” only if there is ambiguity as to the meaning of the communication. Cf. RESTATEMENT

(SECOND) OF TORTS § 563 (1977) (collecting cases). There is no such semantical dispute here.

There is no need for a court to “interpret” the meaning of Phillips’ statement to determine whether

or not he said Nicholas blocked him, or to determine whether Phillips was just kidding or making

a political comment. Phillips spoke directly, unambiguously, and factually. Phillips’ statement

accusing Nicholas of blocking his way and preventing his departure is a statement of fact needing

no contextual interpretation.

V.     PHILLIPS’ STATEMENTS ARE DEFAMATORY

       The Court has already ruled that these statements are capable of a defamatory meaning.41

41
   Sandmann v. NBCUniversal, LLC, Cov. Case No. 2:19-cv-56 (Doc. 43; Page ID# 755), adopted
by reference and reaffirmed in Sandmann v. The New York Times Co., Case No. 2:20-cv-23 (Doc.
28; Page ID# 217) (“[T]he Court has ruled in companion cases that the [blocked/retreat] statement
is libelous. The Court continues to hold that opinion for the reason stated in such preceding
cases.”); Sandmann v. CBS News, Inc., et al., Case No. 2:20-cv-24 (Doc. 34; Page ID# 273) (“[T]he
Court has ruled in companion cases that similar publications are libelous. The Court continues to
hold that opinion for the reasons stated in such preceding cases.”); Sandmann v. ABC News, Inc.,
et al.¸ Case No. 2:20-cv-25 (Doc. 36; Page ID# 315) (“[T]he Court has ruled in companion cases
that the [blocked/retreat] statement is libelous. The Court continues to hold that opinion for the
reasons stated in such preceding cases.”); Sandmann v. Rolling Stone, LLC, et al., Case No. 2:20-
cv-27 (Doc. 35; Page ID# 276) (“[T]he Court has ruled in companion cases that the
[blocked/retreat] statement is libelous. The Court continues to hold that opinion for the reason
stated in such preceding cases.”).




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The Court further ruled that the statements are defamatory per se.42 In the New York Times’ Order,

after the Court explicated the standard for “defamatory” statements under Kentucky law, the Court

made its holding clear, so that there would be no mistake: “The allegations of the Complaint fit

this definition [of defamation per se] precisely.” E.g., Sandmann v. The New York Times Co., Case

No. 2:20-cv-23 (Doc. 28; Page ID# 218). As a result, the Court need not revisit this issue, and may

omit reading this section of the plaintiff’s brief. Nonetheless, for fear of silence appearing as

acquiescence, Nicholas hereby repeats his arguments on this point so that no contention of the

Defendants goes unanswered.

        “[Kentucky] common law treats a broad . . . class of written defamatory statements as

actionable per se.” E.g., Stringer v. Wal-Mart Stores, Inc., 151 S.W.3d 781, 795 (Ky. 2004). A

statement constitutes defamation per se if it “tends to expose the plaintiff to public hatred, ridicule,

contempt or disgrace, or to induce an evil opinion of him in the minds of right-thinking people.”

Digest Publishing Co. v. Perry Publishing Co., 284 S.W.2d 832, 834 (Ky. 1955). It is “not

necessary that the words imply a crime or impute a violation of laws or involve moral turpitude or

immoral conduct.” Id. at 834; Stringer, 151 S.W.3d at 795.

       In determining whether or not a statement is defamatory, the court is to examine the

publication only. “In determining whether a writing is libelous per se [under Kentucky law], courts

must stay within the four corners of the written communication.” Roche v. Home Depot USA, 197

F. App’x 395, 398 (6th Cir. 2006). “The words must be given their ordinary, natural meaning as

defined by the average lay person. The face of the writing must be stripped of all innuendoes and

explanations.” Id.; Dermody v. Presbyterian Church U.S.A., 530 S.W.3d 467, 475 (Ky. Ct. App.


42
  E.g., Sandmann v. The New York Times Co., Case No. 2:20-cv-23 (Doc. 28; Page ID# 218)
(“The allegations of the Complaint fit this definition [of defamation per se] precisely.”).

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2017). On the other hand, a publication is considered libelous “per quod” if one must resort to

“extrinsic evidence of context or circumstances” in order to comprehend the defamatory nature of

the written words. Stringer, 151 S.W.3d at 795; Disabled American Veterans, Dept. of Kentucky,

Inc. v. Crabb, 182 S.W.3d 541, 547 (Ky. Ct. App. 2005). Finally, the court is to “analyze the article

in its entirety and determine if its gist or sting is defamatory.” McCall, 623 S.W.2d at 884; Biber

v. Duplicator Sales and Service, 155 S.W.3d 732, 738 (Ky. Ct. App. 2004).

       Phillips’ statements that Nicholas blocked him and prevented his retreat are defamatory in

character and defamatory per se under Kentucky law. A communication is capable of a defamatory

meaning “if it tends to (1) bring a person into public hatred, contempt or ridicule; [or] (2) cause[s]

him to be shunned or avoided ….” This Court has already viewed the publications in their

respective contexts and found that the blocked/retreat statements are capable of defamatory

meaning as a matter of law.

       The Defendants’ argument conflates the role of the judge and the role of the jury with

respect to the issue of defamatory meaning. The judge must decide as a matter of law whether the

challenged statements, in the context of the whole article, were capable of bearing a defamatory

meaning. See, e.g., RESTATEMENT (SECOND) OF TORTS §§ 614, 615 cmt. a (1977). Once a statement

is determined to be capable of bearing a defamatory meaning, the court’s inquiry ends, and it is

for the jury to determine “whether a defamatory meaning was attributed to it by those who received

the communication.” Desai v. Charter Communs., LLC, 381 F. Supp. 3d 774, 787 (W.D. Ky. 2019)

(citing Yancey v. Hamilton, 786 S.W.2d 854, 858-59 (Ky. 1989)). If the challenged statements are

capable of more than one meaning, one defamatory and the other non-defamatory, “the jury should

decide which of the meanings a recipient of the message would attribute to it.” Yancey, 786 S.W.2d

at 858 (citations omitted).

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       The standard for assessing defamatory character is the natural understanding of the lay

person: “The alleged defamatory words must be measured by their natural and probable effect on

the mind of the average lay reader and not be subjected to the critical analysis of the legal mind.”

McCall v. Courier-Journal and Louisville Times Co., 623 S.W.2d 882, 884 (Ky. 1981) (emphasis

added); accord Stringer, 151 S.W.3d at n. 38; Kentucky Kingdom Amusement Co. v. Belo

Kentucky, Inc., 179 S.W.3d 785, 790 (Ky. 2005) (internal citations omitted).

       Accusations and imputations of specific racist conduct, racist speech, taunting, and assault

are routinely held to be defamatory per se. See, e.g., Mullenmeister v. Snap-On Tools Corp., 587

F. Supp. 868, 874 (S.D.N.Y. 1984) (collecting cases and holding that “[c]ourts have readily held

allegations of racism … to constitute libel per se, at least when founded on specific incidents”);

Toler v. Süd-Chemie, Inc., 458 S.W.3d 276, 282 (Ky. 2014) (accusation of racist comments in the

workplace were defamatory per se); Fortney v. Guzman, 482 S.W.3d 784, 789-90 (Ky. Ct. App.

2015) (“When the communications concern untrue allegations of criminal behavior … the

communication is libelous per se); Toikka v. Jones, No. 12-204-DLB, 2013 U.S. Dist. LEXIS

35537, at *5 (E.D. Ky. Mar. 12, 2013) (statement defendants “witnessed [plaintiff] push Evelyn

Jones” and call her a “bitch” is libelous per se because it meets definition of assault, which is “an

unlawful offer of corporeal injury to another by force”); Boyles v. Mid-Florida Television Corp.,

431 So. 2d 627, 634-35 (Fla. Dist. Ct. App. 1983), aff’d, 467 So. 2d 282 (Fla. 1985) (the accusation

of “taunting the retarded patients” “is something that would tend to subject one to contempt or

disgrace,” without regard to innuendo).

       The four corners of Phillips’ statements, published by each of the Defendants, convey an

unmistakable accusation of racism, classism, privilege, intolerance, and bigotry. The statements

accuse Nicholas of blocking and preventing the escape of a peaceful, Native protestor, while

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wearing a MAGA hat and smiling as he stared at Phillips. No extrinsic evidence was needed; no

innuendo or external context was necessary. The accusation itself, involving the two particular

people involved, was immediately incendiary. Without another word spoken, without an ounce of

innuendo or extrinsic evidence, Phillips’ statements brought Nicholas into unbelievably rapid

“public hatred, ridicule, contempt or disgrace.” They instantaneously “induced an evil opinion of

Nicholas in the minds of right-thinking people.” He was condemned across the political spectrum

and even by his own Bishop.

       This Court has already ruled that the Defendants’ publications fit Kentucky’s definition of

defamatory per se “precisely.” E.g., Sandmann v. The New York Times Co., Case No. 2:20-cv-23

(Doc. 28; Page ID# 218). That decision is clearly correct and the defendants present no convincing

reason to change it. Phillips’ statements are clearly of defamatory character and constitute

defamation per se under Kentucky law.

VI.    PHILLIPS’ STATEMENTS ARE FALSE, NOT TRUE OR SUBSTANTIALLY
       TRUE.

       In his deposition, Nicholas stated repeatedly that his intention, when encountered

aggressively by Phillips, was at all times to “diffuse the situation.” (E.g., Sandmann Dep. 189,

414-15). By no means did Nicholas intend otherwise. The Defendants point to Nicholas’ after-the-

fact statements that he “stood” in place to argue that Nicholas did in fact block Phillips. Yet the

Defendants’ contentions, even if credited, fall far short of establishing that this Court should grant

summary judgment in Defendants’ favor.

       Juries routinely resolve factual questions involving the behavior of people. The defendants’

attempt to re-characterize Nicholas’ behavior as aggressive “blocking” instead of defensive

“standing” only puts the nail in their argument that this Court should take this question of fact

away from the jury and resolve it as a matter of law. At best, all the Defendants can argue is that
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the unambiguous video evidence should not lead this Court to grant Nicholas’ Motion for Partial

Summary Judgment. The Defendants’ disagreement about what the video shows suffices to

preclude summary judgment. E.g., Hanson, 736 Fed. App’x. at 527 (“[W]here the video does not

tell the whole story in a material respect, or ‘reasonable jurors could interpret the video evidence

differently,’ summary judgment is not appropriate.”). Nicholas contends the video evidence is

clear and entirely negates Phillips’ statements. Nonetheless, if a “genuine dispute” remains on the

proper characterization of Nicholas’ conduct, then summary judgment is not appropriate. E.g.,

Lindsay v. Yates, 578 F.3d 407, 414 (6th Cir. 2009).

       The Defendants cite to decisions involving “substantial truth.” Those cases involve

statements where the defendant spoke metaphorically, not literally. See Tannerite Sports, LLC v.

NBCUniversal Media LLC, 135 F. Supp. 3d 219, 235 (S.D.N.Y. 2015) (holding statement in news

report that “right now I am basically holding a bomb in my hand” to refer to rifle targets used for

sport was substantially true), aff’d sub nom., 864 F.3d 236 (2d Cir. 2017). As the court explained

in Tannerite Sports, the defendant was not speaking literally (that he actually had a “bomb” in his

hands), but metaphorically, as he referred to the rifle targets that exploded upon impact. Id. The

speaker’s use of “bomb,” used as a shorthand or colorful metaphor for “exploding rifle target,”

constituted a true or substantially true description of the rifle target. Id. He did not accuse the

plaintiff of literally manufacturing bombs. Id.

       Tannerite Sports and the other substantial truth cases cited by Defendants are inapposite in

this matter. No one is saying that “blocked” is a rhetorical metaphor that should be understood to

mean something else. Phillips did not use the term metaphorically; he used it descriptively.

Contrary to the Defendants’ contention, Nicholas does not “quibble” with Phillips’ use of the word

“blocked.” (D. Joint Memo. at 46). Blocked means blocked; it is not metaphor for something else.

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This is not a substantial truth case; the Defendants’ discussion on that point only confuses the

matter.

          The bottom line is that Nicholas simply stood in his place, a place where he had been

standing for some time. The Defendants try to make a mountain from a molehill, asserting that

Nicholas’ slight (six-inch) shifting of his weight and position proves that Nicholas did indeed block

Phillips. (D. Joint Memo. at 22). But the video Defendants’ rely on, Video 17, does not show

Nicholas moving. (Stip. Video 17 at 03:37-03:42). Defendants attempt to piece together

screenshots of Video 17 to make it appear as if Nicholas moved. (D. Joint Memo. at 22). That

portion of Video 17, however, when played fully does not show Nicholas moving. Nicholas did

not move to block Phillips. (Id.; Stip. Video 2 at 00:40-00:55). All Nicholas did was stand where

he was, at a single spot along the wide steps of the Lincoln Memorial.

          The standard for truth is what the “reasonable lay person” would regard as true. McCall v.

Courier-Journal & Louisville Times Co., 623 S.W.2d 882, 884 (Ky. 1981) (citing Digest

Publishing Company v. Perry Publishing Co., Ky., 284 S.W.2d 832, 834 (Ky.

1955)). Unsurprisingly, young Nicholas has this “reasonable lay person” exactly right:

                 Q. . . . In your opinion, what would it have looked like if you had
                 blocked him, if you were blocking him?
                 A. In my opinion, for me to block him, he would have had to have
                 taken a step or a half step in another direction, other than standing
                 there, even forward, and it would have required me to meet him in
                 the corresponding way, wherever he went, to, you know, basically
                 not let him go anywhere.
That would be blocking. We’ve all done it, at least playfully, moving here and there to prevent

someone from getting through a doorway or other narrow opening. Nicholas did not do that; if he

had, such movement would be obvious in the video recordings. Nicholas just stood in place. He

did not block Phillips, and it is not true (literally or substantially) to say that he did.
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VII.   CONCLUSION

       In light of the above, the Defendants’ Motion for Summary Judgment should be denied.

                                          Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        This is to certify that on February 11, 2022, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing to

all parties indicated on the electronic filing receipt.


                                                          /s/ Todd V. McMurtry____   ________
                                                          Todd V. McMurtry, Esq.




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